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                      IN THE UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF ARKANSAS
                                 DELTA DIVISION

MARK T. STINSON, SR.                                                              PLAINTIFF

v.                              Case No. 2:22-CV-00219-LPR

OFFICER K. CAULEY, et al.                                                      DEFENDANTS

                                        JUDGMENT

       Pursuant to the Order entered this day, it is CONSIDERED, ORDERED, and ADJUDGED

that Mr. Stinson’s Complaint is DISMISSED with prejudice. The Court certifies pursuant to 28

U.S.C. § 1915(a)(3) that an in forma pauperis appeal from this Judgment and the underlying Order

would not be taken in good faith.

       IT IS SO ADJUDGED this 6th day of April 2023.




                                                   ________________________________
                                                   LEE P. RUDOFSKY
                                                   UNITED STATES DISTRICT JUDGE
